Case 3:09-cr-00249-D   Document 77   Filed 10/19/09   Page 1 of 5   PageID 310


                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA,       §
                                §
                    Plaintiff, §
                                §        Criminal No. 3:09-CR-249-D
VS.                             §
                                §
BRIAN PATRICK HANEY, et al.,    §
                                §
                    Defendants. §

                           MEMORANDUM OPINION
                                AND ORDER

       The government moves the court to declare this case complex

and continue the trial date. Three of the five defendants who have

made appearances——Nathan Todd Shafer, Matthew Norman Simpson, and

Alicia Cargill Smallwood——have filed opposition responses.                 The

government has filed a supplemental certificate of conference that

indicates a fourth defendant——Brian Patrick Haney——is also opposed

to the motion.    According to the government, defendant Eric Byron

Littlejohn is not opposed.      For the reasons that follow, the court

grants the motion.

                                     I

       Nine defendants——four of whom are presently fugitives——have

been indicted in this case for the offense of conspiracy to exceed

authorized access to a protected computer, in violation of 18

U.S.C. § 1030(b).1     The grand jury handed up the sealed indictment

on September 1, 2009.     Four defendants made initial appearances on


       1
        The indictment also contains a forfeiture allegation in count
two.
Case 3:09-cr-00249-D   Document 77       Filed 10/19/09     Page 2 of 5        PageID 311


September    4,   2009.     A    fifth   made    his      initial   appearance         on

September 9, 2009. The case is currently set for trial on November

16, 2009, and pretrial motions are due on October 19, 2009.                           The

government moves the court to declare this case complex and

continue the trial to a date on or after April 20, 2010 and to

adjust the pretrial dates accordingly.             As noted, four of the five

defendants who have made appearances oppose the motion.

                                         II

     Pursuant to 18 U.S.C. § 3161(h)(7)(A), the court can grant an

“ends of justice” continuance “at the request of the attorney for

the Government, if the judge granted such continuance on the basis

of his findings that the ends of justice served by taking such

action outweigh the best interest of the public and the defendant

in a speedy trial.”       Id.   One of the factors the court may consider

in granting an “ends of justice” continuance is “[w]hether the case

is so unusual or so complex, due to the number of defendants, the

nature of the prosecution, or the existence of novel questions of

fact or law, that it is unreasonable to expect adequate preparation

for pretrial proceedings or for the trial itself within the time

limits      established         by   this       section.”                 18      U.S.C.

§ 3161(h)(7)(B)(ii).

     The government has established that this case is so complex

due to the number of defendants and the nature of the prosecution

that it is unreasonable to expect adequate preparation for the


                                     - 2 -
Case 3:09-cr-00249-D        Document 77    Filed 10/19/09   Page 3 of 5    PageID 312


trial itself within the time limits established by the Speedy Trial

Act (“the Act”).            The court therefore finds that the ends of

justice served by taking such action outweigh the best interest of

the public and the defendants in a speedy trial.

       Nine defendants are charged in the indictment.                 The five who

have       appeared   are    scheduled     to     be   tried.     The     government

anticipates that its case-in-chief will last approximately 15

days.2      The government accuses the defendants of being part of a

conspiracy that lasted six years (from 2003 to 2009) and involved

a loss calculated at approximately $12 million as of the date of

the indictment.          In its present motion, it posits that various

conspirators created fraudulent companies that purchased telephone

service and bandwith minutes and, through fraudulent acts, exceeded

authorized      access      to   the   victim     companies’    computer    systems,

thereby damaging the companies through additional fraudulent acts

and the failure to pay for services, leased equipment, or leased

premises.       According to the government, the conspirators used

stolen telecommunication service and bandwith themselves or sold it

to others; they sold their companies without disclosing accumulated

debt or the underlying fraud; and they placed some companies in



       2
      The court cites this estimate to illustrate why this case is
complex. No later than the pretrial conference, the court will
decide whether to impose time limits on the presentation of the
evidence.   See United States v. Colomb, 419 F.3d 292 (5th Cir.
2005). The time limits may, inter alia, restrict the length of the
government’s case to fewer than the 15 days estimated.

                                          - 3 -
Case 3:09-cr-00249-D      Document 77    Filed 10/19/09     Page 4 of 5    PageID 313


bankruptcy      and     committed   bankruptcy       fraud.       The      government

maintains that the current discovery is voluminous, involving

computer data——said to exceed 200 terabytes——from more than 300

computers and other devices, and more than 10,000 pages of paper

data.     And     it    anticipates     that    it   will     acquire      additional

discovery.        The government also foresees seeking a superseding

indictment that, inter alia, expands the charges and perhaps adds

defendants.

     The three defendants who have filed opposition responses

focus on such factors as the supposed lack of complexity as to them

individually, the premise that the case is essentially a simple

fraud case that revolves around a single issue of non-payment, the

assertion that the case does not involve novel questions of fact or

law, and, concerning one defendant, the fact that he is being

detained pending trial.          But while the theme of the case may be

relatively simple, the government has demonstrated that the case

meets the statutory definition.            This is because, for the reasons

it cites in its motion, it is unreasonable to expect adequate

preparation for the trial itself within the time limits established

by the Act.        Complexity is measured in terms of the case, not

according    to    an    individual     defendant.        Moreover,       defendants’

arguments do not adequately address the large number (apprehended

and at large) of defendants.            And the case need not involve novel

questions of fact or law.           Novelty is but one of three possible


                                        - 4 -
Case 3:09-cr-00249-D   Document 77    Filed 10/19/09   Page 5 of 5   PageID 314


grounds for finding that a case is complex, and it is a ground on

which the court need not (and does not) rely here.

     The government has met its burden of demonstrating that this

case is so complex due to the number of defendants and the nature

of the prosecution that it is unreasonable to expect adequate

preparation for the trial itself within the time limits established

by the Act.    The court therefore finds that the ends of justice

served by taking such action outweigh the best interest of the

public and the defendants in a speedy trial.

                              *       *       *

     The government’s September 29, 2009 motion to have case

declared complex and to continue trial date is granted.              The court

continues the trial of this case to Monday, May 10, 2010.                   The

pretrial motion deadline is continued to Monday, February 1, 2010.

     SO ORDERED.

     October 19, 2009.



                                     _________________________________
                                     SIDNEY A. FITZWATER
                                     CHIEF JUDGE




                                     - 5 -
